                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            DOCKET NO. 3:90-cr-00085-MOC

 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
                                                )
 Vs.                                            )                       ORDER
                                                )
 DARYL PERNELL CAMPS,                           )
                                                )
                  Defendant.                    )



       THIS MATTER is before the court on Defendant’s Motion to Unseal Court Records.

(#132). The time allowed for a government response has passed without any such response. LCrR

55.1; LCrR 47.1. By the instant motion, Defendant’s counsel Charles Brewer seeks to unseal

various copies of Presentence Investigation Reports filed in 2009 and 2012 for the purpose of filing

a motion under Amendment 782 of the United States Sentencing Guidelines. Upon consideration of

the motion, and for good cause shown, the court will grant the motion as to Mr. Brewer for the sole

purpose of the Amendment 782 motion. The court notes that Mr. Brewer specifically asks to

unseal Documents (## 52, 53, 73, and 97). Document (#53), which is noted in ECF as a sealed

document for court viewing only, is an internal court document and will not be unsealed.

                                           ORDER

       IT IS, THEREFORE, ORDERED that Defendant’s Motion to Unseal Court Records

(#132) is GRANTED as to Documents (## 52, 73, and 97), and the Clerk of Court is directed to

unseal such documents as to Mr. Brewer.

       IT IS FURTHER ORDERED that Mr. Brewer restrict use of any documents unsealed by

this Order to matters relating to the 782 Motion for Defendant. Specifically, while counsel may



       Case 3:90-cr-00085-MOC           Document 133        Filed 05/21/15      Page 1 of 2
              review the unsealed documents with Defendant, Defendant is not to retain any copy of the unsealed

              documents, including the Presentence Investigation Reports. Under no circumstances is counsel to

              share any documents unsealed by this order with the press.



Signed: May 21, 2015




                       Case 3:90-cr-00085-MOC        Document 133          Filed 05/21/15   Page 2 of 2
